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6

7                 IN THE UNITED STATES DISTRICT COURT FOR THE
8                                 DISTRICT OF ARIZONA
9
     Brandon Aldecoa,                        ) Case No.:
10                  Plaintiff,               )
                                             ) COMPLAINT
11   vs.                                     )
12
                                             ) JURY TRIAL DEMANDED
                                             )
13   City of Chandler, a municipal corporation;
                                             )
     Officer Salvador Gallegos # 706, in )is
14   individual capacity                     )
     Officer Jose Hernandez # 367 in )is
15
     individual capacity,                    )
16                                           )
                                             )
17                          Defendants.      )
18         COMES NOW, Plaintiff, Brandon Aldecoa, by and through their attorney of
19   record, Elizabeth Tate, and hereby submits his Complaint against Defendants,
20
     and each of them, and alleges as follows:
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     ///
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     ///
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1
                                NATURE OF THE ACTION
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3         1.    This is an action brought by Plaintiff for compensatory relief and

4    damages against the City of Chandler and its police officers, Officer Salvador
5
     Gallegos, and Officer Jose Hernandez. These Defendants violated           Brandon
6
     Aldecoa’s, right to be free from excessive force under the Fourth Amendment and
7
     Fourteenth Amendment under the U.S. Constitution, through 42 U.S.C. Section
8

9    §1983 pursuant to an unconstitutional policy and individual acts, committed

10   negligence, assaulted, and battered, infliction intentional emotional distress upon
11   Aldecoa.
12
          2.    The    City of Chandler    also violated Aldecoa’s    rights under the
13
     Americans with Disabilities Act, 42 U.S.C. § 12132 and the Rehabilitation Act, 29
14
     U.S.C. § 794 and 794a when it shot and wounded, Aldecoa, a disabled individual,
15

16   and failed accommodate Aldecoa’s disability.

17                       PARTIES, JURISDICTION AND VENUE
18
          3.    At all times relevant hereto to this action, Brandon Aldecoa was living
19
     in Chandler, Arizona. Aldecoa suffers from bipolar a serious psychiatric condition.
20
     This disability was known to Defendants because Aldecoa had threatened to kill
21

22   himself.

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1           4.     Aldecoa’s condition was chronic/permanent and affected his major life
2
     activities of communicating with others, thinking clearly and periodically affected
3
     his will to live.
4
            5.     Always relevant hereto this action, Defendant Salvador Gallegos
5

6    (hereinafter “Gallegos”), was a resident of Arizona and engaged in a policy of

7    excessive force and committed negligence, battered and inflicted emotional
8    distress upon Aldecoa.
9
            6.     Always relevant hereto this action, Defendant           Jose Hernandez
10
     (hereinafter “Hernandez”), was a resident of Arizona and engaged in a policy of
11

12
     excessive force and committed negligence, battered and inflicted emotional

13   distress upon Aldecoa.

14          7.      Upon information and belief, always relevant hereto this action, the
15
     Defendant, City of Chandler, is a municipal corporation that has a police
16
     department established for serving and protecting residents of Chandler.
17
            8.     The City of Chandler    is liable for the actions of its police officers,
18

19   Defendants Gallegos and Hernandez who violated Plaintiff’s                Fourth and

20   Fourteenth Amendment rights, negligently wounded, assaulted and battered and
21
     inflicted intentional and severe emotional distress upon Plaintiff.
22
            9.     The Defendant police officers were inadequately trained, inadequately
23
     disciplined and City of Chandler supervisors ratified their actions.
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1          10.     City of Chandler has a wide policy of failing to train its officers and
2
     failure to discipline including a failure to train and discipline the named officer
3
     Defendants.
4
           11.     City of Chandler had a duty under the Americans with Disabilities Act,
5

6    and Rehabilitation Act as a public establishment, to make its services available to

7    people with disabilities and to make reasonable accommodations for such
8    persons.
9
           12.     City of Chandler receives financial assistance or funding from federal
10
     government programs.
11

12
           13.     All events alleged herein occurred within Maricopa County in the State

13   of Arizona.

14         14.     This Court has personal jurisdiction over the parties based upon the
15
     foregoing facts.
16
           15.     This Court has subject matter jurisdiction for all the claims herein
17
     because all arise from federal statutes, as provided by 28 U.S.C. 1331 and 28
18

19   U.S.C. 1343(a) (3,4). The Court has supplemental jurisdiction over Plaintiff’s state

20   law claims under 28 U.S.C. 1367(a).
21
          16.      This District Court (Phoenix Division) is the proper venue for this
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       action pursuant to 28 U.S.C. 1391(b) (1,2).
23
                                    FACTUAL ALLEGATIONS
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1       17.    On September 17, 2021, Brandon Aldecoa was at the Hyatt Place
2
     Hotel at 3535 W. Chandler Boulevard with his girlfriend, Mariah. Aldecoa and
3
     Mariah began to argue, and someone called the police. The party who called
4
     911 informed the dispatcher that Aldecoa was armed and planning on
5

6    committing suicide by cop.

7       18.      Officers Hernandez and Gallegos arrived without the assistance of a
8    crisis assessment team. Hotel manager, Tom, pointed the officers in the
9
     direction that Aldecoa ran.
10
        19.    Aldecoa ran to his black Avalanche pickup truck. The Avalanche
11

12
     truck bed was covered. Aldecoa opened the truck lid but could not open it

13   completely. Aldecoa climbed in the bed of the pickup truck to hide.

14      20.    Having been informed by the manager of the direction that Aldecoa
15
     ran, Hernandez found Aldecoa easily who was hiding in the bed of the pickup
16
     truck with the truck lid partially ajar.
17
        21.     Aldecoa popped up from the truck bed, pointed his gun to his head
18

19   and said, “I am going to kill myself”. Hernandez made no effort to deescalate

20   did not issue a warning for Aldecoa to drop Aldecoa’s weapon and immediately
21
     opened fire on Aldecoa and called to Gallegos.
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1        22.   Officer Gallegos joined Hernandez in riddling the area of the pickup
2
     truck where Aldecoa was hiding with gunfire. Justifiably, Aldecoa feared for his
3
     life.
4
         23.   Aldecoa understood that the only way to get Hernandez and Gallegos
5

6    to stop firing their guns at him was to discharge his weapon up into the air.

7    Aldecoa did not aim his weapon and the officers, discharged in into the air and
8    the officers stopped shooting at him and ran for cover.
9
         24.   Hernandez and Gallegos badly wounded Aldecoa with gunshots.
10
     One of the bullets lodged in Aldecoa’s head. Aldecoa threw his weapon down
11

12
     and Officers Hernandez and Gallegos came to him to render first aid.

13       25.   While rendering first aid, Hernandez or Gallegos said, “I wish I would

14   have killed him”. Paramedic then transported Aldecoa to Dignity St. Joseph
15
     Hospital. The incident was captured on police body cam.
16
         26.   The 911 operators did not dispatch a crisis assessment team, nor
17
     did Hernandez and Gallegos request one in violation of their duties to assist
18

19   Aldecoa, a disabled citizen in crisis who needed mental health intervention.

20       27.   Rather than deescalate the situation by ordering Aldecoa to drop his
21
     gun and deescalating Aldecoa with their training or summoning a crisis
22
     intervention counselor, Defendants enflamed the situation by riddling Aldecoa
23
     with bullets.
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1     (Count 1, 42. U.S.C. § 1983 - Unlawful Arrest, Excessive Force in violation
          of the Fourth and Fourteenth Amendments) As to all Defendants
2

3           28. Plaintiff incorporates by this reference each allegation previously.

4    made in this Complaint, as if fully set forth herein.
5
          29.   The individual Defendants to this claim, always relevant hereto, were
6
     acting under the color of state law in their capacities as City of Chandler police
7
     officers and their acts and omissions were conducted within the scope of their
8

9    official duties or employment.

10        30.   At the time of the complained of events, Aldecoa had a clear
11   constitutional right under the Fourth Amendment to be secure in his person without
12
     Defendant police officers using excessive force against him because he had not
13
     expressed an intention to hurt them.
14
          31.   Aldecoa also had a clear constitutional right under the Fourteenth
15

16   Amendment to be free from the use of excessive force and be afforded due

17   process. The Defendants knew or should have known these rights at the time of
18
     the complained of conduct as they were clearly established at the time.
19
          32.   Defendants’ wounding         of     Aldecoa, as described herein, was
20
     objectively unreasonable considering the facts and circumstances confronting
21

22   them and violated the Fourth Amendment because Aldecoa was not intent on

23   hurting them.
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1            33.   Defendants’ actions, to wound Aldecoa, as described herein, were also
2
     malicious and/or involved reckless, callous, and deliberate indifference to Plaintiff’s
3
     federally protected rights.
4
             34.   Defendants Hernandez and Gallegos            escalated the situation by
5

6    riddling Aldecoa’s body with bullets instead of retreating to call a crisis assessment

7    team.
8            35.   The Defendants Hernandez and Gallegos, knowing no they had no
9
     right to shoot Aldecoa without issuing warnings, violated Plaintiff’s constitutional
10
     rights to wound Aldecoa without legal justification as Aldecoa expressed no
11

12
     intention to harm them.

13           36.   Defendants failed to take reasonable steps to protect Aldecoa from

14   excessive force despite being able to do so and therefore each are liable for the
15
     injuries and damages resulting from the unreasonable and conscience shocking
16
     wounding by each Defendant.
17
             37.   City of Chandler is liable for the actions of its police officers’ violation
18

19   of Aldecoa’s      Fourth and Fourteenth Amendment rights for excessive force

20   employed against Aldecoa.
21
             38.   The Defendant Officers acted pursuant to a policy of failure to train
22
     officers in mental health and failure to discipline officers that employ excessive
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1    force thereby emboldening the officers and other officers like them to commit
2
     constitutional violations.
3
            39.      Further, upon information and belief, the Officers’ supervisors with
4
     final policymaking authority reviewed the Officers’ acts in an excessive force report
5

6    and ratified the officers’ actions as being acceptable policing thereby creating a

7    policy of excessive force for the City of Chandler.
8           40.      The acts and/or omissions of the Defendants were the moving forces
9
     behind Howard’s injuries.
10
            41.      As a direct and proximate result of Defendants’ unlawful conduct,
11

12
     Aldecoa was severely injured and sustained damages and losses as described

13   herein entitling him to compensatory and special damages in amounts to be

14   determined at trial. As further result of the Defendants’ unlawful conduct, Plaintiff
15
     is entitled to general damages in amounts to be established at trial.
16
            42.      In addition to compensatory, economic, consequential, and special
17
     damages, Plaintiff is entitled to punitive damages against Defendants Hernandez
18

19   and Gallegos under 42 U.S.C. § 1983, in that the Officer Defendants acted

20   maliciously, willfully or with reckless or wanton disregard of the constitutional rights
21
     of Plaintiff.
22
                    (Counts 2 and 3, Violations of 42 U.S.C.S. § 12132 and the
23                Rehabilitation Act and Failure to Train as to Defendant City of
                                            Chandler)
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1          43.   Plaintiff incorporates by this reference each allegation previously made
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     in this Complaint, as if fully set forth herein.
3
           44.   Plaintiff was a qualified individual with a disability to wit: bipolar who
4
     was subjected to disability discrimination by City of Chandler police officers.
5

6          45.   The Defendant denied Plaintiff’s reasonable accommodation of

7    arranging for treatment of Aldecoa’s mental health because of Aldecoa’s disability.
8          46.   The officers’ failures resulted in Aldecoa who did not threaten the
9
     officers being wounded by the Defendant police officers. The Defendant City of
10
     Chandler’s officers’ actions were malicious and/or involved reckless, callous, and
11

12
     deliberate indifference to Howard’s federally protected rights.

13           47. Aldecoa was a City resident of with a disability and was qualified,

14   to receive the City of Phoenix police services (to protect lives) and was denied
15
     these services (to protect life) by reason of his disability.
16
             48. The Defendant police officers failed to make a reasonable disability
17
     accommodations and had an opportunity to do so, those failures resulted in
18

19   Aldecoa’s severe wounds.

20          49. Aldecoa displayed evidence of his disability by threatening harm to
21
     himself that should have been immediately alerted the police officers that they
22
     needed to get Aldecoa mental health treatment. They had the means to do so,
23
     by employing the qualified mental health counselors that City of Chandler keeps
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1    on staff from the moment of the 911 call and/or dispatch a crisis assessment team
2
     to the hotel.
3
           50. Defendant City of Chandler officers failed to accommodate Aldecoa’s
4
     disability, in that the officers had both the time and opportunity to evaluate the
5

6    situation and employ the accommodations above and de-escalate matters rather

7    than enflaming them by opening. Because the Defendant Officers knew or should
8    have known of Plaintiff’s disability and did not reasonably accommodate him, the
9
     City of Chandler is liable.
10
           51. Defendant City of Chandler failed to professionally train their police
11

12
     officers deescalate matters for mentally ill individuals, such as Aldecoa, to get

13   individuals such as Aldecoa to treatment.

14         52. Such failure resulted in discrimination against Aldecoa. Defendant City
15
     of Chandler failed to properly, train its police officers to recognize symptoms of
16
     disabilities, and failed to modify its police policies, practices, and procedures to
17
     prevent discriminatory treatment of the disabled, such as Aldecoa.
18

19         53. The City of Chandler is a public entity charged with the responsibly under

20   Title II of the Americans with Disabilities Act and    Rehabilitation Act to comply
21
     with public anti-discrimination laws, and to professionally train the Defendant police
22
     officers to reasonably accommodate the Plaintiff’s disability.
23
                          (Count 4, Negligence) as to each Defendants
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1          54. Each Defendant in their roles of law enforcement had a duty to conform
2
     themselves to a standard of care to appropriately respond to requests for about
3
     mentally ill citizens such as Aldecoa.
4
           55. In addition, each Defendant had the duty of community caretaking
5

6    functions to protect the lives of the citizens of Chandler, to protect Aldecoa’s life.

7          56. Defendant City of Chandler allocated resources and had programs such
8    as mental health counselors and crisis assessment teams to address the need of
9
     citizens such as Aldecoa.
10
           57. Each Defendant had a duty to access those mental health services for
11

12
     Aldecoa on the night Defendants wounded Aldecoa.

13         58. Defendants breached their duties to Aldecoa, a mentally ill citizen in

14   need of the City of Chandler services by denying Aldecoa such services as
15
     described above.
16
           59. Each Defendant breached its duty to Aldecoa when they wounded him.
17
           60. As a direct and proximate result of Defendants’ unlawful breach,
18

19   Aldecoa     suffered actual physical injures and other damages and losses as

20   described herein thereby entitling him to compensatory and general damages in
21
     amounts to be established at trial.
22
                  (Count 5, Assault and Battery) as to all Defendants
23
           61. Plaintiff incorporates by this reference each allegation previously,
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1    made in this Complaint, as if fully set forth herein.
2
           62.The Defendant Officers fired at Aldecoa placing Aldecoa in apprehension
3
     of physical harm.
4
             63.The Defendant Officers inflicted pain and serious injury to Aldecoa’s
5

6    body.

7          64. Defendant City of Chandler is the employer of Defendants and is
8    responsible for the defendant officers’ actions         under the legal theory of
9
     respondeat superior.
10
           65. As a direct and proximate result of Defendants’ unlawful conduct,
11

12
     Plaintiff suffered actual physical injures and other damages and losses as

13   described herein entitling his estate to compensatory and general damages in

14   amounts to be established at trial.
15
      (Count 6 Intentional Infliction of Emotional Distress) as to all Defendants
16
        66. Plaintiff incorporates by this reference each allegation previously,
17
     made in this Complaint, as if fully set forth herein.
18

19      67. The Defendant Officers acted intentionally or recklessly       by      firing   at

20         Aldecoa without warning.
21
        68. Defendants actions were        extreme and outrageous because Aldecoa
22
           expressed no intention to harm the officers and cannot be tolerated by a
23
           civilized society.
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1       69. The Defendant Officers inflicted serious emotional distress upon Aldecoa
2
           and did cause serious emotional distress on Aldecoa who believed that he
3
           had been mortally wounded.
4
        70. Defendant City of Chandler is the employer of Defendants and is
5

6    responsible for the defendant officers’ actions         under the legal theory of

7    respondeat superior.
8       71. As a direct and proximate result of Defendants’ unlawful conduct, Plaintiff
9
           suffered actual physical injures and other damages and losses as described
10
           herein entitling him to compensatory and general damages in amounts to be
11

12
           established at trial.

13                             DEMAND FOR TRIAL BY JURY

14
           Plaintiff hereby demands a trial by jury on all his claims, pursuant to the U.S.
15

16   Constitution’s Seventh Amendment and the Federal Rules of Civil Procedure Rule

17   38 (a,b).

18                                 PRAYER FOR RELIEF

19         WHEREFORE, Plaintiff reserves the right to amend this Complaint at the

20   time of trial to include all items of damages not yet ascertained, prays judgment
21   against the Defendants, and each of them, as follows:
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1           1.    An order awarding Plaintiff actual and compensatory damages from
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     COP for violations of civil rights, disability discrimination and restitution in an
3
     amount according to proof at time of trial;
4
            2.    An order awarding Plaintiff actual, punitive, and compensatory
5

6    damages in compensation for violation of civil rights, IIED, negligence, and assault

7    and battery. Plaintiff does not seek punitive damages against Defendant City of
8    Chandler;
9
            3.    An order awarding Plaintiff’s reasonable attorney’s fees and costs;
10
            4.    An order awarding Plaintiff prejudgment interest according to proof;
11
     and
12
            5.    For such other and further relief as the Court deems just and proper.
13

14
            DATED this September 12, 2022.
15

16

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18                                         By: /s/ Elizabeth D. Tate
19                                         ______________________
                                               Attorney for Plaintiff
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